 1   SHAPIRO & SUTHERLAND, LLC                          Honorable Christopher M Alston
 2   1499 SE Tech Center Place, Suite 255               Chapter 13
     Vancouver, WA 98683                                Hearing Location: Seattle, WA
 3   Telephone: (360) 260-2253                          Hearing Date: August 16, 2018
     S&S No. 18-123522                                  Hearing Time: 09:30 AM
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 7
                                UNITED STATES BANKRUPTCY COURT
 8                          FOR THE WESTERN DISTRICT OF WASHINGTON
 9

10       In Re:                                              Case No. 18-12299-CMA

11       Jason L Woehler                                     CHAPTER 13 BANKRUPTCY
12                Debtor.                                    OBJECTION TO
                                                             CONFIRMATION OF PLAN
13
14

15          COMES NOW Nationstar Mortgage LLC d/b/a Mr. Cooper, its successors and/or assigns
16   (“Creditor”), by and through its attorney, Cara Richter, and hereby objects to Jason L Woehler’s
17
     (“Debtor”) proposed Chapter 13 Plan (the “Plan”) filed June 25, 2018.
18
                                            BACKGROUND
19
            On or about May 14, 2009, Jason L Woehler made, executed and delivered a Note
20

21   (“Note”) in favor of Golf Savings Bank, a Washington Stock Savings Bank in the original

22   principal amount of $353,479.00. Creditor is the holder of the original Note endorsed in blank.

23   This Note was secured by a Deed of Trust encumbering real property commonly described as
24   1920-A E. Spruce St, Seattle, WA 98122. (“Property”).
25
26
                                                                    SHAPIRO & SUTHERLAND, LLC
27                                                                 1499 SE Tech Center Place, Suite 255
       1 – OBJECTION TO CONFIRMATION OF PLAN                                    Vancouver, WA 98683
28                                                                          Telephone: (360) 260-2253




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             As established by the Proof of Claim filed with the Court, the amount necessary to fully
 1
 2   pay off Creditor’s lien is over $291,142.64 and the pre-petition arrears are approximately

 3   $945.89. The pre-petition arrears consist primarily of an escrow shortage.

 4                                     AUTHORITY AND ARGUMENT
 5
             Creditor objects to confirmation of the Plan because the Plan does not provide for cure of
 6
     the pre-petition arrearage owing to Creditor. As stated above, the pre-petition arrearages are
 7
     $945.89. Pursuant to 11 U.S.C. § 1322(b)(5), the plan must provide for the curing of any default
 8
     within a reasonable period of time. Since the Plan fails to cure the arrearage, the Plan does not
 9

10   meet the requirements of 11 U.S.C. § 1322(b)(5).

11           WHEREFORE, Nationstar Mortgage LLC d/b/a Mr. Cooper, its successors and/or

12   assigns, respectfully requests an Order denying Confirmation of the Debtor’s proposed Plan.
13
                        Dated this 27th day of June, 2018.
14

15
     /s/ Cara Richter
16   Cara J. Richter
17   WSBA # 47723
     Attorney for Creditor
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                                                                      SHAPIRO & SUTHERLAND, LLC
27                                                                   1499 SE Tech Center Place, Suite 255
        2 – OBJECTION TO CONFIRMATION OF PLAN                                     Vancouver, WA 98683
28                                                                            Telephone: (360) 260-2253




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 1   SHAPIRO & SUTHERLAND, LLC                                           Honorable Christopher M Alston
 2   1499 SE Tech Center Place, Suite 255
     Vancouver, WA 98683
 3   Telephone: (360) 260-2253
     S&S No. 18-123522
 4

 5

 6

 7
                                 UNITED STATES BANKRUPTCY COURT
 8                           FOR THE WESTERN DISTRICT OF WASHINGTON
 9

10       In re:
                                                          Case No. 18-12299-CMA
11       Jason L Woehler
                                                          CERTIFICATE OF MAILING
12                                   Debtor(s)
13

14
             I hereby certify under penalty of perjury under the laws of the State of Washington that I
15
     mailed a true and correct copy of the Objection to Confirmation of Plan, postage pre-paid,
16
     regular first class mail, on the 27th day of June, 2018, to the parties listed below.
17

18           DATED this 27th day of June, 2018.

19
     /s/ Milena Rentschler
20   Milena Rentschler
     Legal Assistant to Cara Richter
21

22

23
     Jason L Woehler
24   1920-A E. Spruce St
     Seattle, WA 98122
25

26
                                                                         SHAPIRO & SUTHERLAND, LLC
27                                                                      1499 SE Tech Center Place, Suite 255
        1 – CERTIFICATE OF MAILING                                                   Vancouver, WA 98683
28                                                                               Telephone: (360) 260-2253



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     James E. Dickmeyer
 1   121 Third Avenue
 2   PO Box 908
     Kirkland, WA 98083
 3
     K Michael Fitzgerald
 4   600 University St #1300
     Seattle, WA 98101
 5

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                                                               SHAPIRO & SUTHERLAND, LLC
27                                                            1499 SE Tech Center Place, Suite 255
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28                                                                     Telephone: (360) 260-2253


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